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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

TERRA EVANS,                                   )
                                               )
                       Plaintiff,              )       4:10-cv-00572-JMM
                                               )
       v.                                      )
                                               )       Judge Moody
CHECK LAW RECOVERY                             )       Magistrate Judge Cavaneau
SYSTEMS, INC.,                                 )
                                               )
                       Defendant.              )

                 ORDER OF DISMISSAL PURSUANT TO SETTLEMENT

   Pursuant to settlement, this case is dismissed without prejudice, without costs to either party,

and with leave for Plaintiff to seek reinstatement within forty-five (45) days from the date of

entry of this order. If this case has not been reinstated within forty-five (45) days from the date of

entry of this order, or a motion for reinstatement has not been filed by said date, then the

dismissal of this case shall automatically convert from a dismissal without prejudice to a

dismissal with prejudice.

       IT IS SO ORDERED THIS 28             day of September , 2010.




                                                       James M. Moody
                                                       United States District Judge
